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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LYLE ANDERSON,

        Plaintiff,

        v.

SERGEANT BARNES, OFFICER
PURCHASE, OFFICER TELMECO, AND
THE CITY OF CHICAGO,

        Defendants.

                                   COMPLAINT AT LAW

       NOW COMES the PLAINTIFF, by and through Blake Horwitz, Esq. and Dan Zoloth

Dorfman, Esq. of The Blake Horwitz Law Firm, and pursuant to this Complaint at Law, states

the following against the above named Defendants, POLICE SERGEANT BARNES, OFFICER

PURCHASE, OFFICER TELMECO (collectively “DEFENDANT OFFICERS”) and the CITY

OF CHICAGO:

                                       JURISDICTION

1.     The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42 U.S.C.

§ 1983, the Judicial Code, 28 U.S.C. §1331 and §1343(a), the Constitution of the United States;

and this Court’s supplementary jurisdiction powers.

                                           PARTIES

2.     PLAINTIFF is a resident of the State of Illinois and of the United States.

3.     The DEFENDANT OFFICERS were at all times relevant employed by and acting on

behalf of the CITY OF CHICAGO.




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 4.     The CITY OF CHICAGO is a duly incorporated municipal corporation and is the

employer and principal of the DEFENDANT OFFICERS, as well as the other officers and/or

employees referred to in this Complaint. At all times material to this Complaint, the

DEFENDANT OFFICERS were acting under color of state law, ordinance and/or regulation,

statutes, custom and usages of the CITY OF CHICAGO.

                                             FACTS

 5.     On or about October 18, 2009, at about 9:40 P.M., PLAINTIFF was peacefully enjoying

the privacy and security of his apartment at 3515 S. Cottage Grove Avenue, Chicago, Illinois.

 6.     On or about October 18, 2009, at about 9:40 P.M., PLAINTIFF was detained by one or

more of the DEFENDANT OFFICERS and transported by one of the DEFENDANT OFFICERS

to the police station.

 7.     On or about October 18, 2009, some or all of the DEFENDANT OFFICERS engaged in

an unreasonable seizure of the PLAINTIFF. Specifically, some or all of the DEFENDANT

OFFICERS slammed the PLAINTIFF’s head repeatedly against the hood of the police car and

against a brick wall despite the fact that the PLAINTIFF had not resisted arrest, threatened the

DEFENDANT OFFICERS, and was not a threat to the DEFENDANT OFFICERS. This

conduct violated the Fourth Amendment to the United States Constitution.

 8.     The DEFENDANT OFFICERS arrested and charged the PLAINTIFF with simple

assault, pursuant to 720 ILCS 5/12-1-A, notwithstanding the fact that on October 18, 2009 the

PLAINTIFF had not committed simple assault. This conduct violated the Fourth Amendment to

the United States Constitution.

 9.     On or about October 18, 2009, PLAINTIFF did not commit simple assault pursuant to

720 ILCS 5/12-1-A.




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 10.    On or about November 16, 2009, the charge of simple assault against the PLAINTIFF

was dismissed.

 11.    The show of force initiated by and/or the failure to intervene in the use of said force on or

about October 18, 2009 by the DEFENDANT OFFICERS caused an unreasonable seizure to the

PLAINTIFF.

 12.    The DEFENDANT OFFICERS charged and/or participated in the charging of the

PLAINTIFF with criminal activity and arrested, participated in the arrest and/or failed to prevent

the arrest of the PLAINTIFF, notwithstanding the fact that the DEFENDANT OFFICERS failed

to observe and/or learn that PLAINTIFF had committed criminal activity of any sort. The

DEFENDANT OFFICERS did not have probable cause to believe that criminal activity took

place relative to the PLAINTIFF.

 13.    On October 18, 2009, PLAINTIFF had not committed an act contrary to the laws of the

State of Illinois.

 14.    As a direct and proximate result of one or more of the acts or omissions of the

DEFENDANT OFFICERS alleged in this Complaint, PLAINTIFF was caused to suffer

damages.

 15.    On or about October 18, 2009, the DEFENDANT OFFICERS were on duty at all times

relevant to this Complaint and were duly appointed police officers for the CITY OF CHICAGO.

On or about October 18, 2009, the DEFENDANT OFFICERS engaged in the conduct

complained of in the course and scope of employment and while on duty. This action is being

brought with regard to the individual capacity of the DEFENDANT OFFICERS.

 16.    Upon information and belief, DEFENDANT SERGEANT BARNES came into physical

contact with PLAINTIFF on October 18, 2009.




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17.    Upon information and belief, DEFENDANT OFFICER PURCHASE came into physical

contact with PLAINTIFF on October 18, 2009.

18.    Upon information and belief, DEFENDANT OFFICER TELMECO came into physical

contact with PLAINTIFF on October 18, 2009.

                                       CONSPIRACY

19.    Some or all of the DEFENDANT OFFICERS conspired to cause damage to PLAINTIFF

in the following manner:

             a. agreeing to falsely arrest the PLAINTIFF;

             b. agreeing to falsely institute criminal charges/proceedings against the

                 PLAINTIFF;

             c. using excessive force and/or failing to intervene in the use of excessive force

                 against the PLAINTIFF;

             d. agreeing not to report each other after witnessing and/or using excessive force

                 relative to the PLAINTIFF;

             e. agreeing not to report each other after falsely arresting and/or charging the

                 PLAINTIFF; and

             f. generating false documentation to cover-up for their own and each other’s

                 misconduct.

20.    In connection with the above conspiracy, the DEFENDANT OFFICERS specifically

engaged in communication on or about October 18, 2009, by which the DEFENDANT

OFFICERS agreed to facilitate, engage in and support the activity which occurred in connection

with the allegations immediately above. As a result of this conspiracy, the DEFENDANT

OFFICERS by and through their conduct, proximately caused PLAINTIFF to, inter alia, suffer




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physical injury, be charged with criminal allegations, incur financial losses including attorneys’

fees and medical expenditures, and to suffer emotionally.

                                          COUNT I
                              Excessive Force Claim Pursuant to
             42 U.S.C. § 1983 and the Fourth Amendment to the U.S. Constitution

21.     PLAINTIFF re-alleges paragraphs 1 – 20 as though fully set forth herein.

22.     The actions and/or the failure to intervene in the actions of the DEFENDANT

OFFICERS amounted to an excessive use of force onto the PLAINTIFF.

23.     This conduct violated the Fourth Amendment of the United States Constitution.

24.     The actions of the DEFENDANT OFFICERS alleged in this Complaint were the direct

and proximate cause of the constitutional violations set forth above.

        WHEREFORE, PLAINTIFF demands compensatory damages from the DEFENDANT

OFFICERS. PLAINTIFF also demands punitive damages, costs and attorneys’ fees against the

DEFENDANT OFFICERS and whatever additional relief this Court deems equitable and just.


                                         COUNT II
                               False Arrest Claim Pursuant to
             42 U.S.C. § 1983 and the Fourth Amendment to the U.S. Constitution

25.     PLAINTIFF re-alleges paragraphs 1 – 20 as though fully set forth herein.

26.     The actions of the DEFENDANT OFFICERS alleged in this Complaint caused the arrest

of the PLAINTIFF without probable cause to believe that the PLAINTIFF had committed

criminal activity.

27.     The conduct of the DEFENDANT OFFICERS was in violation of the Fourth Amendment

to the United States Constitution.




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28.     The actions of the DEFENDANT OFFICERS on or about October 18, 2009 alleged in

this Complaint were the direct and proximate cause of the Constitutional violations alleged in this

Complaint.

        WHEREFORE, PLAINTIFF demands compensatory damages from the DEFENDANT

OFFICERS. PLAINTIFF also demands punitive damages, costs and attorneys’ fees against the

DEFENDANT OFFICERS and whatever additional relief this Court deems equitable and just.

                                           COUNT III
                                  False Arrest – State Law Claim

 29.    PLAINTIFF re-alleges paragraphs 1 – 20 as though fully set forth herein.

 30.    The DEFENDANT OFFICERS arrested PLAINTIFF without probable cause to believe

that PLAINTIFF committed criminal activity. The conduct of the DEFENDANT OFFICERS

was in violation of the Constitution to the State of Illinois as well as Illinois law.

 31.    The actions of the DEFENDANT OFFICERS on or about October 18, 2009 were the

direct and proximate cause of the violations alleged in this Complaint.

        WHEREFORE, PLAINTIFF demands compensatory damages from the DEFENDANT

OFFICERS. PLAINTIFF also demands punitive damages and costs against the DEFENDANT

OFFICERS and whatever additional relief this Court deems equitable and just.

                                           COUNT IV
                                    Battery – State Law Claim

 32.    PLAINTIFF re-alleges paragraphs 1 – 20 as though fully set forth herein.

 33.    On or about October 18, 2009, the DEFENDANT OFFICERS struck the PLAINTIFF

intentionally, without consent and without justification.

 34.    The PLAINTIFF suffered injury as a result.

 35.    The conduct of the DEFENDANT OFFICERS was in violation of Illinois Law.




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36.    The actions of the DEFENDANT OFFICERS alleged in this Complaint were the direct

and proximate cause of the violations and injuries alleged in this Complaint.

       WHEREFORE, PLAINTIFF demands compensatory damages from the DEFENDANT

OFFICERS. PLAINTIFF also demands punitive damages and costs against the DEFENDANT

OFFICERS and whatever additional relief this Court deems equitable and just.

                                         COUNT V
                           Malicious Prosecution – State Law Claim

37.    PLAINTIFF re-alleges paragraphs 1 – 20 as though fully set forth herein.

38.    The DEFENDANT OFFICERS alleged that PLAINTIFF violated the laws of the State of

Illinois. These allegations commenced or continued a criminal proceeding against PLAINTIFF.

39.    The DEFENDANT OFFICERS engaged in this effort without probable cause.

40.    The underlying criminal charges were ultimately resolved in favor of PLAINTIFF on

November 16, 2009.

41.    The underlying criminal charges were resolved in a manner indicative of innocence.

42.    The actions of the DEFENDANT alleged in this Complaint were the direct and proximate

cause of the violations of Illinois State Law, as set forth above.

       WHEREFORE, PLAINTIFF demands compensatory damages from the DEFENDANT

OFFICERS. PLAINTIFF also demands punitive damages and costs against the DEFENDANT

OFFICERS and whatever additional relief this Court deems equitable and just.

                                           COUNT VI
                                    § 1983 Conspiracy Claim

43.    PLAINTIFF re-alleges paragraphs 1 – 20 as though fully set forth herein.




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44.    The actions of the DEFENDANT OFFICERS alleged in this Complaint were the direct

and proximate cause of the violations of the United States Constitution, inter alia the Fourth

Amendment.

       WHEREFORE, PLAINTIFF demands compensatory damages from the DEFENDANT

OFFICERS. PLAINTIFF also demands punitive damages, costs and attorneys’ fees against the

DEFENDANT OFFICERS and whatever additional relief this Court deems equitable and just.

                                         COUNT VII
                                 Conspiracy Claim – State Law

45.    PLAINTIFF re-alleges paragraphs 1 – 20 as though fully set forth herein.

46.    The actions of the DEFENDANT OFFICERS alleged in this Complaint were the direct

and proximate cause of the violations of the Constitution of the State of Illinois and Illinois law

alleged in this Complaint.

       WHEREFORE, PLAINTIFF demands compensatory damages from the DEFENDANT

OFFICERS. PLAINTIFF also demands punitive damages and costs against the DEFENDANT

OFFICERS and whatever additional relief this Court deems equitable and just.

                                       COUNT VIII
                 745 ILCS 10/9-102 Claim Against the CITY OF CHICAGO

47.    PLAINTIFF re-alleges paragraphs 1 – 20 as though fully set forth herein.

48.    Defendant CITY OF CHICAGO is the employer of the DEFENDANT OFFICERS.

49.    The DEFENDANT OFFICERS committed the acts alleged in this Complaint under color

of law and in the scope of employment of the CITY OF CHICAGO.

       WHEREFORE, should the DEFENDANT OFFICERS be found liable for any of the

alleged counts in this cause, PLAINTIFF demands that, pursuant to 745 ILCS 10/9-102, the




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CITY OF CHICAGO pay PLAINTIFF any judgment obtained against the DEFENDANT

OFFICERS as a result of this Complaint.

                                       COUNT IX
                        Supplementary Claim for Respondeat Superior

50.    PLAINTIFF re-alleges paragraphs 1 – 20 as though fully set forth herein.

51.    The actions of the DEFENDANT OFFICERS alleged in this Complaint were in the scope

of employment and therefore the Defendant CITY OF CHICAGO, as principal, is liable for the

actions of its agents under the doctrine of respondeat superior.

       WHEREFORE should the DEFENDANT OFFICERS be found liable for any state claims

alleged herein, PLAINTIFF demands judgment against the CITY OF CHICAGO and such other

additional relief, as this Court deems equitable and just.

                                         JURY DEMAND

52.    PLAINTIFF demands trial by jury.

                                       Respectfully submitted,

                                       s/ Dan Zoloth Dorfman________
                                       One of the Attorneys for the Plaintiff

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